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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

vs.                                  CASE NO. 13-40021

LAQUAN D. HAYNES                                                                 DEFENDANT

                                           ORDER

       The Court has Ordered Ms. Teresa Bloodman, former counsel for defendant in this matter,

to appear on Friday March 7, 2014 at 10:00 a.m., and show cause why sanctions should not be

imposed for her failure to comply with this Court’s Order of February 20, 2014. Ms. Bloodman has

responded and denied knowledge of the Court’s prior orders, she requests she be excused from

attending the hearing set for Friday March 7, 2014 at 10:00 a.m. This Request is DENIED. Ms.

Bloodman is directed to appear as previously Ordered.

       Failure to appear SHALL result in sanctions being imposed.

       The Clerk is directed to email and fax a copy of this Order to Ms. Bloodman’s last known

email address and fax number.

       DATED this 5th day of March 2014.


                                                   /s/ Barry A. Bryant
                                                   HONORABLE BARRY A. BRYANT
                                                   U.S. MAGISTRATE JUDGE
